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                                      PRESENTMENT DATE AND TIME: APRIL 3, 2019 AT 12:00 P.M. (EDT)
                                 OBJECTION DEADLINE DATE AND TIME: APRIL 2, 2019 AT 4:00 P.M. (EDT)

John E. Mitchell (Admitted Pro Hac Vice)                                     Andrea S. Hartley (Admitted Pro Hac Vice)
Yelena Archiyan (Admitted in New York)                                       Katherine C. Fackler (Admitted Pro Hac Vice)
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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                               )             Chapter 11
REPUBLIC METALS REFINING                                             )
CORPORATION, et al.,1                                                )             Case No. 18-13359 (shl)
                                                                     )
                                    Debtors.                         )             (Jointly Administered)
                                                                     )
                                                                     )             RELATED DOC. NO. 848

                      NOTICE OF PRESENTMENT OF ORDER ON
             DEBTORS’ MOTION TO AUTHORIZE CHANGE OF CASE CAPTION

          PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession

(collectively, the “Debtors”), through their undersigned counsel, will present the attached

proposed Order Approving Debtors’ Motion to Authorize Change of Case Caption annexed

hereto as Exhibit A (the “Proposed Order”), to the Honorable Sean H. Lane, United States

Bankruptcy Judge, United States Bankruptcy Court for the Southern District of New York, on

April 3, 2019 at 12:00 p.m. (prevailing Eastern Time) for approval and signature.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include: Republic
Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY 10036 (3194), Republic Metals Corporation, 12900 NW
38th Avenue, Miami, FL 33054 (4378), Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833),
Republic High Tech Metals, LLC, 13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054
(7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo
Road, Huangpu District, Shanghai, P.R. 200001 China (1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5,
Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).




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         PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to entry of

the Proposed Order must: (i) be made in writing, (ii) state with particularity the grounds therefor,

(iii) be filed in accordance with the electronic filing procedures for the United States Bankruptcy

Court for the Southern District of New York, with proof of service, with a courtesy copy

delivered to the Chambers of the Honorable Sean H. Lane, One Bowling Green New York, New

York 10004; and (iv) be served upon (a) counsel for the Debtors, Akerman LLP, 2001 Ross

Avenue, Suite 3600, Dallas, TX 75201 (Attn: John Mitchell, Esq.) and 98 Southeast Seventh

Street, Suite 1100, Miami, FL 33131 (Attn: Andrea S. Hartley, Esq. and Katherine C. Fackler,

Esq.); (c) counsel for the Creditors’ Committee, Cooley LLP, 1114 Avenue of the Americas,

New York, New York 10016 (Attn: Seth Van Aalten, Esq. and Ian Shapiro, Esq.); (d) the Office

of the United States Trustee for the Southern District of New York, U.S. Federal Office

Building, 201 Varick Street, Suite 1006, New York, New York 10014 (Attn: Shannon Scott,

Esq.); and (e) all entities requested notice in these chapter 11 cases under Fed. R. Bankr. P. 2002

so as to be received no later than 4:00 p.m. (prevailing Eastern Time) on April 2, 2019 (the

“Objection Deadline”).

         PLEASE TAKE FURTHER NOTICE that if no objections are timely filed and

received by the Objection Deadline, the Court may enter the Proposed Order without further

notice or a hearing. If an objection is filed, you may be notified of a hearing to consider the

requested relief. The moving and objecting parties are required to attend the hearing, and failure

to attend in person or by counsel may result in relief being granted or denied upon default.




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Dated: March 27, 2019
                                      AKERMAN LLP


                                      By:     /s/John E. Mitchell
                                               John E. Mitchell
                                               (Admitted Pro Hac Vice)
                                               Yelena Archiyan
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                                                      -and-

                                               Katherine C. Fackler
                                               (Admitted Pro Hac Vice)
                                               Andrea S. Hartley
                                               (Admitted Pro Hac Vice)
                                               Joanne Gelfand
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                                      Counsel for Debtors and Debtors-in-Possession




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                                  EXHIBIT A

                           PROPOSED ORDER




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                       )           Chapter 11
REPUBLIC METALS REFINING                                     )
CORPORATION, et al.,2                                        )           Case No. 18-13359 (shl)
                                                             )
                                 Debtors.                    )           (Jointly Administered)


                                 ORDER ON DEBTORS’ MOTION TO
                               AUTHORIZE CHANGE OF CASE CAPTION

           This matter came before the Court on presentment upon the ex-parte motion (the

“Motion”)3 dated March 20, 2019 [Doc. No. 848] of Republic Metals Refining Corporation and

its debtor affiliates (collectively, the “Debtors”), as debtors and debtors in possession in the

above-captioned chapter 11 cases (the “Chapter 11 Cases” or “Cases”), seeking an Order

pursuant to section 105(a) of the Bankruptcy Code; Bankruptcy Rules 1005, 2002(m), and

2002(n); authorizing the Debtors to change the case captions used in the Chapter 11 Cases; and it

appearing that the Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this

proceeding being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it further appearing

that the relief requested in the Motion is authorized by the Sale Order and is in the best interests

of the Debtors’ estates, creditors, and other parties-in-interest, and upon all of the proceedings

had before the Court; and after due deliberation and cause appearing;



2
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
3
    All capitalized terms not defined herein shall have the definitions set forth in the Motion.


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IT IS HEREBY ORDERED THAT:

         1.    The Motion is GRANTED as set forth herein.

         2.    The Clerk of the Court is authorized and directed to modify the docket of Case

No. 18-13359 (shl) with the Debtors’ new names as soon as possible.

         3.    Effective as of the date hereof, the new caption of the jointly administered

Chapter 11 Cases shall read as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                         )        Chapter 11
                                               )
MIAMI METALS I, INC., et al.1                  )        Case No. 18-13359 (shl)
                                               )
                         Debtors.              )        (Jointly Administered)



       FN 1: The Debtors in these chapter 11 cases, along with the last four digits of each
Debtor's federal tax identification number, include: Miami Metals I, Inc. (f/k/a Republic Metals
Refining Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY 10036 (3194);
Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL
33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company), LLC, 5295 Northwest
163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic
LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R
Metals, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC
Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (1507); Miami Metals VII (f/k/a
RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami Metals VIII (f/k/a
Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW
38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276
Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639); and Republic Trans
Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio
Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).

         1.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13359 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of Republic Metals Refining Corporation to Miami Metals I, Inc.” In



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addition, the Clerk of the Court is authorized and directed to modify the docket of Case No. 18-

13359 (shl) with the Debtor’s new name as soon as possible.

         2.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13360 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of Republic Metals Corporation to Miami Metals II, Inc.” In addition, the

Clerk of the Court is authorized and directed to modify the docket of Case No. 18-13360 (shl)

with the Debtor’s new name as soon as possible.

         3.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13361 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of Republic Carbon Company to Miami Metals III LLC.” In addition, the

Clerk of the Court is authorized and directed to modify the docket of Case No. 18-13361 (shl)

with the Debtor’s new name as soon as possible.

         4.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13642 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of J&L Republic, LLC to Miami Metals IV LLC.” In addition, the Clerk

of the Court is authorized and directed to modify the docket of Case No. 18-13642 (shl) with the

Debtor’s new name as soon as possible.

         5.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13643 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the




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corporate name change of R & R Metals, LLC to Miami Metals V LLC.” In addition, the Clerk

of the Court is authorized and directed to modify the docket of Case No. 18-13643 (shl) with the

Debtor’s new name as soon as possible.

         6.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13639 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of RMC Diamonds LLC to Miami Metals VI LLC.” In addition, the

Clerk of the Court is authorized and directed to modify the docket of Case No. 18-13639 (shl)

with the Debtor’s new name as soon as possible.

         7.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13641 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of RMC2, LLC to Miami Metals VII LLC.” In addition, the Clerk of the

Court is authorized and directed to modify the docket of Case No. 18-13641 (shl) with the

Debtor’s new name as soon as possible.

         8.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13638 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of Republic High Tech Metals, LLC to Miami Metals VIII LLC.” In

addition, the Clerk of the Court is authorized and directed to modify the docket of Case No. 18-

13638 (shl) with the Debtor’s new name as soon as possible.

         9.    The name changes pursuant to the Motion, this Order, and any filings with

applicable governmental offices are for administrative purposes only. Nothing herein or as a




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result of the name changes pursuant to the Motion, this Order, and any filings with applicable

governmental offices shall impact or modify the prepetition rights, claims, liens, and other

interests held by creditors and parties in interest in these Cases.

         10.   Any recorded liens or UCC-1 filings existing as of the Petition Date filed in

regards to the Debtors shall remain effective for perfection purposes notwithstanding the name

changes pursuant to the Motion, this Order, and any filings with applicable governmental offices.

No creditor need take any additional steps, including but not limited to, amending or filing new

state UCC-1 filings, to protect their prepetition interests in these Cases.

         11.   The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

         12.   This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation and/or interpretation of this Order.

         13.   This Order shall be effective immediately upon entry by the Court.

Dated: New York, New York
       April ___, 2019

                                                           PROPOSED
                                              _______________________________________
                                              HONORABLE SEAN H. LANE
                                              UNITED STATES BANKRUPTCY JUDGE




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